                     Case 2:21-cv-01073-NJK Document 19 Filed 12/08/21 Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


PATRICIA ANN BASCOM,
                                                       JUDGMENT )RU$77251(<)((6IN A CIVIL CASE
                                Plaintiff,
         v.                                            Case Number: 2:21-cv-01073-NJK
KILOLO KIJAKAZI, Acting
Commissioner of Social Security,

                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
Attorneys’ fees are awarded to the Plaintiff in the amount of $637.50.




         12/8/2021
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                               /s/ D. Reich-Smith
                                                             Deputy Clerk
